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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )   Chapter 11
                                                             )
IRONNET, INC., et al.,1                                      )   Case No. 23-11710 (BLS)
                                                             )
               Debtors.                                      )   (Jointly Administered)
                                                             )


                           SCHEDULES OF ASSETS AND LIABILITIES
                             OF IRONNET, INC. (CASE NO. 23-11710)




1
    The Debtors in the above captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are as follows: IronNet, Inc. (9446), IronNet Cybersecurity, Inc. (2655), IronNet
    International, LLC (7621), IronCAD LLC (1162), and HighDegree, LLC (8474). The Debtors’ corporate
    headquarters is located at 7900 Tysons One Place, Suite 400, McLean, VA 22102.
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                      )
        In re:                                                        )   Chapter 11
                                                                      )
        IRONNET, INC., et al.,1                                       )   Case No. 23-11710 (BLS)
                                                                      )
                        Debtors.                                      )   (Jointly Administered)
                                                                      )
                                                                      )

                   GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
                     REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
                      LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                         The above-captioned debtors and debtors in possession (each, a “Debtor,” and
         collectively, the “Debtors”) are filing their respective Schedules of Assets and Liabilities
         (collectively, the “Schedules”) and Statements of Financial Affairs (collectively,
         the “Statements,” and together with the Schedules, the “Schedules and Statements”) in the
         United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors, with the
         assistance of their professional advisors, prepared the Schedules and Statements in accordance
         with section 521 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy
         Code”), and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                        These Global Notes, Methodology, and Specific Disclosures Regarding the
         Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (these “Global
         Notes”) are incorporated by reference in, and comprise an integral part of, the Debtors’ respective
         Schedules and Statements, and should be referred to and considered in connection with any review
         of the Schedules and Statements.

                         While the Debtors’ management and their advisors have made reasonable efforts to
         ensure that the Schedules and Statements are as accurate and complete as possible under the
         circumstances, based on information that was available at the time of preparation, inadvertent
         errors, inaccuracies, or omissions may have occurred, or the Debtors may discover subsequent
         information that requires material changes to the Schedules and Statements. Additionally, because
         the Schedules and Statements contain unaudited information, which is subject to further review,
         verification, and potential adjustment, there can be no assurance that the Schedules and Statements
         are complete. The Debtors and their estates reserve all rights to amend or supplement the
         Schedules and Statements as may be necessary and appropriate.



         1
             The Debtors in the above captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are as follows: IronNet, Inc. (9446), IronNet Cybersecurity, Inc. (2655), IronNet
             International, LLC (7621), IronCAD LLC (1162), and HighDegree, LLC (8474). The Debtors’ corporate
             headquarters is located at 7900 Tysons One Place, Suite 400, McLean, VA 22102.
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                        The Schedules and Statements have been signed by Cameron Pforr, President and
         Chief Financial Officer of the Debtors. In reviewing and signing the Schedules and Statements,
         Mr. Pforr necessarily relied upon the efforts, statements, and representations of the Debtors’
         management and advisors. Mr. Pforr has not, and could not have, personally verified the accuracy
         of each such statement and representation, including, but not limited to, statements and
         representations concerning amounts owed to creditors, classification of such amounts, and
         respective creditor addresses.

                        These Global Notes supplement, and are in addition to, any specific notes contained
         in the Debtors’ Schedules or Statements. Furthermore, the fact that the Debtors have prepared
         specific notes with respect to any of the Debtors’ Schedules and Statements and not to another
         should not be interpreted as a decision by the Debtors to exclude the applicability of such specific
         notes to any other of the Debtors’ Schedules and Statements.

                       Disclosure of information in one or more Schedules, one or more Statements, or
         one or more exhibits or attachments to the Schedules or Statements, even if incorrectly placed,
         shall be deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                         GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

         1.     Description of These Chapter 11 Cases and “As of” Information Date. On
                October 12, 2023 (the “Petition Date”), each of the Debtors commenced a voluntary case
                under chapter 11 of the Bankruptcy Code. The Debtors are authorized to continue to
                operate their business and manage their property as debtors in possession pursuant to
                sections 1107(a) and 1108 of the Bankruptcy Code. To date, no trustee, examiner, or
                statutory committee has been appointed in these chapter 11 cases. To the best of the
                Debtors’ knowledge, the information included in the Schedules and Statements is presented
                as of the Petition Date, unless otherwise indicated herein or in the Schedules and
                Statements.

         2.     General Reservation of Rights. Reasonable efforts have been made to prepare and file
                complete and accurate Schedules and Statements. However, inadvertent errors or
                omissions may exist. The Debtors reserve all rights to amend or supplement the Schedules
                and Statements from time to time, in all respects, as may be necessary or appropriate,
                including the right to (a) amend the Schedules and Statements with respect to any claim
                (each, a “Claim”) description or designation; (b) dispute or otherwise assert offsets or
                defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
                priority, status, or classification; (c) subsequently designate any Claim as “disputed,”
                “contingent,” or “unliquidated;” or (d) object to the extent, validity, enforceability, priority,
                security, or avoidability of any Claim. Any failure to designate a Claim in the Schedules
                and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
                admission by the Debtors that such Claim or amount is not “disputed,” “contingent,” or
                “unliquidated.” Listing a Claim does not constitute an admission of (i) liability, or
                (ii) amounts due or owing, if any, by the Debtors. Furthermore, nothing contained in the
                Schedules and Statements shall constitute a waiver of rights with respect to these
                chapter 11 cases, including issues involving Claims, substantive consolidation, defenses,

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              equitable subordination, or Causes of Action (as defined below), including those arising
              under the provisions of chapter 5 of the Bankruptcy Code or any other relevant bankruptcy
              or nonbankruptcy laws to recover assets or avoid transfers. Any specific reservation of
              rights contained elsewhere in these Global Notes does not limit in any respect the general
              reservation of rights contained in this paragraph.

         3.   Basis of Presentation. The Schedules and Statements do not purport to represent financial
              statements prepared in accordance with Generally Accepted Accounting Principles, nor are
              they intended to fully reconcile to any financial statements prepared by the Debtors.
              Additionally, the Schedules and Statements reflect the Debtors’ reasonable best efforts to
              report the assets and liabilities of each Debtor on an unconsolidated basis.

         4.   Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
              may not have listed all of their causes of action or potential causes of action against third
              parties as assets in the Schedules and Statements. The Debtors reserve all of their rights
              with respect to any Claim or cause of action (including avoidance actions), controversy,
              right of setoff, cross claim, counterclaim, or recoupment and any claim on contracts or for
              breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
              guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
              license, and franchise of any kind or character whatsoever, whether known, unknown, fixed
              or contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
              disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
              arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
              pursuant to any other right or theory of law (collectively, the “Causes of Action”) they
              may have, and neither these Global Notes nor the Schedules and Statements shall be
              deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
              assertion of such Claims or Causes of Action.

         5.   First Day Orders. Pursuant to various “first day” orders (each, a “First Day Order,” and
              collectively, the “First Day Orders”) entered by the Court, the Debtors and their estates
              are authorized to pay certain prepetition Claims, including, without limitation, certain
              Claims related to employees, taxes and fees, and insurance premiums. To the extent certain
              prepetition Claims were paid pursuant to the relief granted by the First Day Orders, such
              Claims have been omitted from the Schedules and Statements. Additionally, certain
              Claims on the Schedules and Statements may have been, or may in the future be, satisfied
              pursuant to the First Day Orders.

         6.   Recharacterization. The Debtors have made reasonable efforts to correctly characterize,
              classify, categorize, and designate the Claims, assets, executory contracts, interests, and
              other items reported in the Schedules and Statements. Nevertheless, the Debtors may not
              have accurately characterized, classified, categorized, or designated certain items. The
              Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate
              items reported in the Schedules and Statements at a later time as necessary or appropriate.

         7.   Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
              postpetition periods based on the information and research that was conducted in

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               connection with the preparation of the Schedules and Statements. As additional
               information becomes available and further research is conducted, the allocation of
               liabilities between prepetition and postpetition periods may change. The Debtors reserve
               the right to amend the Schedules and Statements as they deem appropriate in this regard.

         8.    Excluded Assets and Liabilities. The Debtors have excluded rejection damage Claims of
               counterparties to executory contracts that may be rejected, if any, to the extent such damage
               Claims exist. In addition, certain immaterial or de minimis assets and liabilities may have
               been excluded.

         9.    Estimates. To prepare and file the Schedules and Statements in accordance with the
               deadline established in these chapter 11 cases, management may have made certain
               estimates and assumptions that affected the reported amounts of the Debtors’ assets and
               liabilities. The Debtors reserve all rights to amend the reported amounts of assets and
               liabilities to reflect changes in those estimates or assumptions, if any.

         10.   Currency. The financial statements for each Debtor are recorded in United States
               currency.

         11.   Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
               contracts and unexpired leases as assets in the Schedules and Statements, even though these
               contracts and leases may have some value to the Debtors’ estates. Rather, executory
               contracts and unexpired leases have been set forth solely on Schedule G. Although the
               Debtors have made diligent attempts to properly identify the parties to each executory
               contract on Schedule G, it is possible that there are more counterparties to certain executory
               contracts on Schedule G than listed herein. The Debtors reserve all of their rights with
               respect to the named parties of any and all executory contracts, including the right to amend
               Schedule G. In addition, although the Debtors have made diligent attempts to properly
               identify executory contracts, the inclusion of a contract on Schedule G does not constitute
               an admission as to the executory nature (or non-executory nature) of the contract, or an
               admission as to the existence or validity of any Claims held by the any counterparty to such
               contract. Furthermore, while the Debtors have made diligent attempts to properly identify
               all executory contracts, inadvertent errors, omissions, or over inclusion may have occurred.

         12.   Insiders. The Debtors have attempted to include all payments made on or within
               twelve (12) months before the Petition Date to any individual or entity deemed an
               “insider.” An individual or entity may be an “insider” if such individual or entity, based
               on the totality of the circumstances, has at least a controlling interest in, or exercises
               sufficient authority over, the Debtors so as to dictate corporate policy and the disposition
               of corporate assets.

               The listing of a party as an “insider” or the inclusion of transactions with any party
               designated as such in the Schedules and Statements is made here to provide parties in
               interest with information and is not intended to be nor should be construed as a legal
               characterization of such party as an insider or to reflect any legal conclusions made by the
               Debtors and does not act as an admission of any fact, claim, right, or defense, and all such
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                 rights, claims, and defenses are hereby expressly reserved. Furthermore, certain of the
                 individuals identified above may not have been insiders for the entirety of the twelve (12)-
                 month period, but the Debtors have included them herein out of an abundance of
                 caution. The Debtors reserve all rights with respect thereto.

         13.     Accounts Payable and Disbursement Systems. The Debtors maintain a cash
                 management system (the “Cash Management System”) to collect and disburse funds in
                 the ordinary course. A more complete description of the Cash Management System is set
                 forth in the Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing and
                 Approving Continued Use of Cash Management System, (B) Authorizing Use of Prepetition
                 Bank Accounts and Business Forms, (C) Authorizing Performance of Intercompany
                 Transactions in the Ordinary Course of Business and Granting Administrative Expense
                 Status for Postpetition Intercompany Claims, (D) Waiving Strict Compliance with
                 Section 345(b) of the Bankruptcy Code and Certain Operating Guidelines, as Applicable,
                 (E) Authorizing Continuance of Corporate Credit Card Program, and (F) Granting
                 Certain Related Relief [Docket No. 7] (the “Cash Management Motion”).

         14.     Totals. All totals that are included in the Schedules and Statements represent totals of all
                 known amounts included in the Schedules and Statements. To the extent there are
                 unknown, disputed, contingent, unliquidated, or otherwise undetermined amounts, the
                 actual total may be different than the listed total.

         15.     Unliquidated Claim Amounts. Claim amounts that could not be quantified by the
                 Debtors are scheduled as “unliquidated.”

         16.     Undetermined Amounts. The description of an amount as “unknown,” “disputed,”
                 “contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the
                 materiality of such amount.

         17.     Global Notes Control. In the event that the Schedules and Statements differ from these
                 Global Notes, these Global Notes shall control.

               SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’ SCHEDULES

         A.      Schedule A/B – Real and Personal Property

         18.     It would be unduly burdensome and an inefficient use of estate assets and other resources
                 for the Debtors to obtain current market valuations of all of their assets listed in
                 Schedule A/B. Accordingly, unless otherwise indicated, all values identified in
                 Schedule A/B are net book value as of, or as near as possible to, the Petition Date. These
                 amounts may materially vary from current fair market value.

         19.     Item 74. Despite their commercially reasonable efforts to identify all known assets, the
                 Debtors may not have listed all of their respective Causes of Action or potential Causes of
                 Action against third parties as assets in Schedule A/B, Part 11, Item 74, including, but not
                 limited to, Causes of Action arising under the Bankruptcy Code or any other applicable

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               laws. The Debtors and their estates reserve all rights with respect to any claims and Causes
               of Action that they may have, and neither these Global Notes nor the Schedules and
               Statements shall be deemed a waiver of any such claims and Causes of Actions, or in any
               way waive, prejudice, impair, or otherwise affect the assertion of such claims and Causes
               of Action.

         B.    Schedule D – Creditors Who Have Claims Secured by Property

         20.   The Debtors and their estates reserve their rights to dispute or challenge the validity,
               perfection, or immunity from avoidance of any lien purported to be granted or perfected in
               any specific asset to a creditor listed on Schedule D of the Debtors. Moreover, although
               the Debtors may have scheduled Claims of various creditors as secured Claims, the Debtors
               reserve all rights to dispute or challenge the secured nature of any such creditor’s Claim or
               the characterization of the structure of any such transaction or any document or instrument
               related to such creditor’s Claim. Except as specifically stated herein or in the Schedules
               and Statements, real property lessors, utility companies, customers, and other parties which
               may hold security deposits have not been listed on Schedule D. Moreover, the Debtors
               have not or may not have included on Schedule D parties that may believe their Claims are
               secured through setoff rights or inchoate statutory lien rights.

               By listing a party on Schedule D based on a UCC-1 filing, the Debtors are solely
               acknowledging that an interest has been asserted by the party that filed such UCC-1 filing,
               and do not concede that such party actually holds a perfected, unavoidable security interest
               in the asset that is the subject of such filing. The Debtors reserve all rights with respect to
               all UCC-1 filings, as set forth in these Global Notes. For the avoidance of doubt,
               Schedule D does not include Claims for which a lien was filed prepetition, but which was
               subsequently released postpetition.

               No Claim set forth on Schedule D is intended to acknowledge Claims of creditors that are
               otherwise satisfied or discharged by other entities. The descriptions provided in
               Schedule D are intended only as a summary. Additionally, in regards to the promissory
               notes referenced in Schedule D of IronNet, Inc., the date the debt was incurred is listed as
               the effective date of the promissory note. Where a debt was incurred through more than
               one promissory note, the date the debt was incurred is listed as “various.”

               Reference to the applicable contracts or loan agreements and related documents and
               applicable law is necessary for a complete description of the collateral and the nature,
               extent, and priority of any liens. Nothing in these Global Notes or the Schedules and
               Statements shall be deemed a modification or interpretation of the terms of any of the
               Debtors’ agreements.

               The Debtors have made reasonable efforts to locate and identify guaranties in each of the
               secured financings, debt instruments, and other such agreements to which the Debtors are
               a party. The Debtors reserve their rights to amend their respective Schedules and
               Statements to the extent additional guaranties are identified or such guaranties are
               discovered to have expired or be unenforceable. In addition, the Debtors reserve the right

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               to amend their respective Schedules and Statements and to re-characterize or reclassify any
               such contract or Claim, whether by amending the Schedules and Statements or in another
               appropriate filing.

         C.    Schedule E/F – Creditors Who Have Unsecured Claims

         21.   Unless otherwise specified, the amounts listed in Schedule E/F are listed as of the Petition
               Date.

               Part 1: Creditors Holding Priority Unsecured Claims. The listing of any Claim on
               Schedule E/F does not constitute an admission by the Debtors that such Claim is entitled
               to priority treatment under section 507 of the Bankruptcy Code. The Debtors reserve all
               of their rights to dispute the amount and the priority status of any Claim on any basis at
               any time. Additionally, the Debtors did not list any Claims of any potential priority
               unsecured creditors whose Claims were satisfied in accordance with the First Day Orders,
               if any.

               Part 2: Creditors Holding Non-Priority Unsecured Claims. The Debtors have used
               reasonable efforts to list all general unsecured Claims against the Debtors on Schedule E/F
               based upon the Debtors’ existing books and records. However, additional Claims may
               exist.

               Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and as such, the
               Debtors may have valid setoff or recoupment rights with respect to such amounts. The
               amounts listed on Schedule E/F do not reflect any such right of setoff or recoupment rights,
               and the Debtors reserve all rights to assert any such setoff or recoupment
               rights. Additionally, certain creditors may assert liens against the Debtors for amounts
               listed on Schedule E/F. The Debtors reserve their right to dispute or challenge the validity,
               perfection, or immunity from avoidance of any lien by a creditor listed on Schedule E/F of
               the Debtors.

               In addition, Schedule E/F does not include rejection damage Claims of the counterparties
               to the executory contracts that may be rejected, to the extent such damage Claims exist.

               Certain of the Claims listed on Schedule E/F are marked as unliquidated out of an
               abundance of caution, but are the Debtors’ best estimates of such Claims based on the
               Debtors’ books and records.

         D.    Schedule G – Executory Contracts

         22.   While the Debtors’ existing books, records, and financial systems have been relied upon to
               identify and schedule executory contracts of the Debtors, and although reasonable efforts
               have been made to ensure the accuracy of Schedule G, inadvertent errors, omissions, or
               inclusions may have occurred. The Debtors do not make, and specifically disclaim, any
               representation or warranty as to the completeness or accuracy of the information set forth
               on Schedule G. The Debtors hereby reserve all of their rights to dispute the validity, status,

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                 or enforceability of any contract or agreement set forth in Schedule G and to amend or
                 supplement Schedule G as necessary. The contracts and agreements listed on Schedule G
                 may have expired or may have been modified, amended, or supplemented from time to
                 time by various amendments, restatements, waivers, estoppel certificates, letters,
                 memoranda, and other documents, instruments, and agreements that may not be listed
                 therein despite the Debtors’ use of reasonable efforts to identify such documents. Further,
                 unless otherwise specified on Schedule G, each executory contract listed thereon shall
                 include all exhibits, schedules, riders, modifications, declarations, amendments,
                 supplements, attachments, restatements, or other agreements made directly or indirectly by
                 any agreement, instrument, or other document that in any manner affects such executory
                 contract, without respect to whether such agreement, instrument, or other document is
                 listed thereon.

                 The Debtors hereby reserve all of their rights, claims, and Causes of Action with respect to
                 the contracts and agreements whether or not listed on Schedule G, including, but not
                 limited to, all of their property rights, the right to dispute or challenge the characterization
                 or the structure of any transaction, document, or instrument related to a creditor’s Claim,
                 to dispute the validity, status, or enforceability of any contract or agreement set forth in
                 Schedule G, and to amend or supplement Schedule G as necessary. The inclusion of a
                 contract on Schedule G does not constitute an admission as to the executory nature (or non-
                 executory nature) of the contract, or an admission as to the existence or validity of any
                 Claims held by the counterparty to such contract, and the Debtors reserve all rights in that
                 regard, including, without limitation, that any agreement is not executory, has expired
                 pursuant to its terms, or was terminated prepetition.

                 In the ordinary course of business, the Debtors may have entered into confidentiality
                 agreements. To the extent that such confidentiality agreements constitute executory
                 contracts, they are not listed individually on Schedule G.

                 Certain executory contracts are described as quotes, invoices, purchase orders, or similar
                 descriptions because, in the ordinary course of the Debtors’ business, their contracts are
                 routinely amended through such documents. Each of these documents relates to an
                 executory contract, and they were listed on Schedule G out of an abundance of caution.

               SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’ STATEMENTS

         23.     Statement 3. Statement 3 includes any disbursement or other transfer made by each
                 Debtor within the ninety (90) days before the Petition Date, except for those made to
                 insiders and bankruptcy professionals. Payments to insiders and bankruptcy professionals
                 are listed in Statements 4 and 11, respectively, for IronNet Cybersecurity, Inc.
                 (“Cybersecurity”) and IronNet International, LLC.

         24.     Statement 4. The Debtors have relied on the financial data and information available to
                 them at the time of filing the Schedules and Statements, and have made reasonable efforts
                 to accurately describe the transfers listed in Statement 4. However, the Debtors are
                 continuing to review their books and records and reserve all rights to recharacterize the

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               transfers listed therein, and to amend or supplement the information provided, to the extent
               that additional information becomes available and the Debtors determine it is necessary to
               do so.

               The Debtors’ directors and officers are paid by Cybersecurity. Accordingly, all payments
               to directors are listed solely in Statement 4 for Cybersecurity.

               Prior to the Petition Date, certain of the Debtors’ directors provided loans to the Debtors
               in anticipation of a potential filing under chapter 7 of the Bankruptcy Code. However,
               once it became evident that the Debtors were going to file petitions under chapter 11 of the
               Bankruptcy Code, such loans were repaid to the respective directors. Both transfers are
               included in Statement 4 for Cybersecurity.

         25.   Statement 7. The Debtors and their estates reserve all rights, claims, and defenses with
               respect to all listed lawsuits and administrative proceedings (or potential lawsuits and
               administrative proceedings). The listing of any such lawsuits and proceedings shall not
               constitute an admission by the Debtors and their estates of any liabilities.

         26.   Statement 11. All of the Debtors’ professionals are paid by Cybersecurity. Accordingly,
               all payments to bankruptcy professionals are listed solely in Statement 11 for
               Cybersecurity.

         27.   Statement 18. As discussed in the Cash Management Motion, shortly before the Petition
               Date, the Debtors began the process of closing three (3) bank accounts. As of the date of
               the filing of these Global Notes and the Schedules and Statements, but after the Petition
               Date, only one (1) of these accounts has been closed (i.e., the Texas Partners Bank account
               ending in 4152). The Debtors are actively working on closing the remaining two (2)
               accounts (i.e., the SVB account ending in 1606 and the Citibank account ending in 4313).

         28.   Statement 26. The Debtors provided financial statements in the ordinary course of their
               businesses to certain parties within two (2) years immediately before the Petition Date.
               Considering the possibility that such information may have been shared with parties
               without the Debtors’ knowledge or consent, or are subject to confidentiality agreements,
               the Debtors may not have disclosed all parties that may have received such financial
               statements for the purposes of Statement 26. In addition, IronNet, Inc. is a publicly-traded
               company, so its financial statements are publicly available.

         29.   Statement 30. Unless otherwise indicated in a Debtors’ specific response to Statement 30,
               the Debtors have included a comprehensive response to Statement 30 in Statement 4.




                                      ***END OF GLOBAL NOTES***

               **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**

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 Fill in this information to identify the case:

 Debtor name: IronNet, Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                        Check if this is an
 Case number: 23-11710
                                                                                                                        amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
  1a. Real property:                                                                                                                $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                          $810,081,646.40
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                            $810,081,646.40
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)                                        $26,777,914.08
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                       $29,890.74
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                    $9,823,678.37
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                     $36,631,483.19
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: IronNet, Inc.

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 23-11710
                                                                                                                                                         amended filing


 Official Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15

  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (Official Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
 Name of institution (bank or brokerage firm)                           Type of account                  Last 4 digits of account #


 3.1
                                                                                                                                                                        $0.00

 4. Other cash equivalents (Identify all)
 4.1
                                                                                                                                                                        $0.00

 5. Total of Part 1

 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                                       $0.00


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

       Yes. Fill in the information below.
Debtor      IronNet, Inc.___________________________________________________________                    Case number (if known) 23-11710________________________________________
           Name
                                          Case 23-11710-BLS                    Doc 142           Filed 11/17/23              Page 13 of 41

                                                                                                                                              Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            None                                                                                                                                                             $0.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            Prepaid Expense - NYSE                                                                                                                                     $77,389.64

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                      $77,389.64


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                              Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                      $0.00      —                                         $0.00   = ........                                     $0.00
            less:
                                     face amount                                doubtful or uncollectible accounts

  11b.      Over 90 days old:                                   $0.00      —                                         $0.00   = ........                                     $0.00

                                     face amount                                doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                            $0.00


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.


                                                                                                 Valuation method used for current            Current value of debtor’s interest
                                                                                                 value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
            None                                                                                                                                                             $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            IronNet Cybersecurity, Inc.                        100%                             N/A                                           Unknown
Debtor        IronNet, Inc.___________________________________________________________            Case number (if known) 23-11710________________________________________
           Name
                                      Case 23-11710-BLS                   Doc 142          Filed 11/17/23            Page 14 of 41
  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
               None                                                                                                                                                   $0.00

  17. Total of Part 4

  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                     $0.00


  Part 5:       Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.

   General description                                        Date of        Net book value of            Valuation method used        Current value of debtor’s interest
                                                              the last       debtor's interest            for current value
                                                              physical       (Where available)
                                                              inventory
  19. Raw materials

  19.1
                                                                                                                                                                      $0.00

  20. Work in progress
  20.1
                                                                                                                                                                      $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                      $0.00

  22. Other inventory or supplies
  22.1
                                                                                                                                                                      $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                     $0.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
                      Book value                                  Valuation method                                         Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes
Debtor        IronNet, Inc.___________________________________________________________              Case number (if known) 23-11710________________________________________
           Name
                                       Case 23-11710-BLS                    Doc 142          Filed 11/17/23            Page 15 of 41
  Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                          Net book value of           Valuation method used       Current value of debtor’s interest
                                                                                debtor's interest           for current value
                                                                                (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                       $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
  29.1
                                                                                                                                                                       $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                       $0.00

  31. Farm and fishing supplies, chemicals, and feed
  31.1
                                                                                                                                                                       $0.00

  32. Other farming and fishing-related property not already listed in Part 6
  32.1
                                                                                                                                                                       $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                      $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         No
                     Book value                                     Valuation method                                       Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes
Debtor      IronNet, Inc.___________________________________________________________                          Case number (if known) 23-11710________________________________________
          Name
                                         Case 23-11710-BLS                         Doc 142             Filed 11/17/23                Page 16 of 41
  Part 7:     Office furniture, fixtures, and equipment; and collectibles

  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                 for current value
                                                                                      (Where available)
  39. Office furniture
  39.1
                                                                                                                                                                                            $0.00

  40. Office fixtures
  40.1
                                                                                                                                                                                            $0.00

  41. Office equipment, including all computer equipment and communication systems equipment and software
  41.1
                                                                                                                                                                                            $0.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                            $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                          $0.00


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:     Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.


   General description                                                                Net book value of                 Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,                  debtor's interest                 for current value
   HIN, or N-number)                                                                  (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
                                                                                                                                                                                            $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels
  48.1
                                                                                                                                                                                            $0.00
Debtor      IronNet, Inc.___________________________________________________________                 Case number (if known) 23-11710________________________________________
          Name
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  49. Aircraft and accessories
  49.1
                                                                                                                                                                           $0.00

  50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
  50.1
                                                                                                                                                                           $0.00

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                      $0.00


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   Description and location of property                         Nature and extent of          Net book value of           Valuation method used        Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest           for current value            debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or office building), if available.

  55.1
                                                                                                                                                                           $0.00

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                      $0.00


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.
Debtor     IronNet, Inc.___________________________________________________________                 Case number (if known) 23-11710________________________________________
          Name
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   General description                                                        Net book value of             Valuation method used        Current value of debtor’s interest
                                                                              debtor's interest             for current value
                                                                              (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
                                                                                                                                                                        $0.00

  61. Internet domain names and websites
  61.1
                                                                                                                                                                        $0.00

  62. Licenses, franchises, and royalties
  62.1
                                                                                                                                                                        $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
                                                                                                                                                                        $0.00

  64. Other intangibles, or intellectual property
  64.1
                                                                                                                                                                        $0.00

  65. Goodwill
  65.1
                                                                                                                                                                        $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                       $0.00


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.
Debtor     IronNet, Inc.___________________________________________________________                   Case number (if known) 23-11710________________________________________
          Name
                                     Case 23-11710-BLS                    Doc 142            Filed 11/17/23              Page 19 of 41

                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
           None                                                                                                            =                                            $0.00
                                                                                         -
                                               total face amount                             doubtful or uncollectible
                                                                                             amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
           Federal NOL (Aggregate)                                                                    Tax year   2023                                         $324,800,000.00

  73. Interests in insurance policies or annuities
  73.1
           None                                                                                                                                                          $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been filed)

  74.1
            None                                                                                                                                                         $0.00

  Nature of Claim
  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
            None                                                                                                                                                         $0.00

  Nature of Claim
  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
           None                                                                                                                                                          $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
           Intercompany Investment in IronNet Cybersecurity Japan, GK                                                                                                $6,729.13

  77.2
           Intercompany Investment in IronNet Cybersecurity UK, Ltd.                                                                                              $624,955.99

  77.3
           Intercompany Investment in IronNet Cybersecurity, Inc.                                                                                             $190,077,654.23

  77.4
           Intercompany Receivable from IronNet Cybersecurity, Inc.                                                                                           $294,494,917.41

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                            $810,004,256.76


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     No

     Yes
Debtor    IronNet, Inc.___________________________________________________________                  Case number (if known) 23-11710________________________________________
          Name
                                         Case 23-11710-BLS                    Doc 142        Filed 11/17/23             Page 20 of 41
  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                            Current value of             Current value of real
                                                                               personal property            property

  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                      $0.00


  81. Deposits and prepayments. Copy line 9, Part 2.                                     $77,389.64

  82. Accounts receivable. Copy line 12, Part 3.                                              $0.00


  83. Investments. Copy line 17, Part 4.                                                      $0.00

  84. Inventory. Copy line 23, Part 5.                                                        $0.00


  85. Farming and fishing-related assets. Copy line 33, Part 6.                               $0.00

  86. Office furniture, fixtures, and equipment; and collectibles. Copy                       $0.00
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                               $0.00


  88. Real property. Copy line 56, Part 9.                                                                                 $0.00

  89. Intangibles and intellectual property.. Copy line 66, Part 10.                          $0.00


  90. All other assets. Copy line 78, Part 11.                                     $810,004,256.76

  91. Total. Add lines 80 through 90 for each column                   91a.                                             91b.
                                                                                  $810,081,646.40                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                         $810,081,646.40
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  Fill in this information to identify the case:

  Debtor name: IronNet, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 23-11710
                                                                                                                                                        amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                          Column B
separately for each claim.
                                                                                                             Amount of Claim                   Value of collateral that
                                                                                                             Do not deduct the value of        supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                      $2,733,845.84      Undetermined
            Alexander, Keith B.                         the lien:
            7900 Tysons One Place, Suite 400            See Financing Statement 20230901289
            McLean, VA 22102
                                                        Describe the lien
           Date debt was incurred?                      UCC Lien securing obligations under
           Various                                      promissory note

           Last 4 digits of account number              Is the creditor an insider or related party?
                                                           No

           Do multiple creditors have an interest          Yes
           in the same property?
                                                        Is anyone else liable on this claim?
               No
                                                           No
               Yes. Specify each creditor, including
                                                           Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                       Form 206H)
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
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  2.2
                                                         Describe debtor's property that is subject to                         $4,377,199.99       Undetermined
            C5 Cyber Partners II SCSP RAIF               the lien:
            1701 Pennsylvania Avenue, NW                 See Financing Statement 20236003965
            Washington, DC 20006
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           2/8/23                                        promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.3
                                                         Describe debtor's property that is subject to                         $5,533,216.69       Undetermined
            C5 Space Data LP                             the lien:
            1701 Pennsylvania Avenue, NW                 See Financing Statement 20230011386
            Washington, DC 20006
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           Various                                       promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                        Doc 142        Filed 11/17/23              Page 23 of 41

  2.4
                                                         Describe debtor's property that is subject to                         $2,445,787.50       Undetermined
            C5 Transatlantic Investors LP                the lien:
            1701 Pennsylvania Avenue, NW                 See Financing Statement 20236003874
            Washington, DC 20006
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           2/27/23                                       promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.5
                                                         Describe debtor's property that is subject to                         $4,096,035.64       Undetermined
            Ferrous Investors LP                         the lien:
            1701 Pennsylvania Avenue, NW                 See Financing Statement 20236003783
            Washington, DC 20006
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           Various                                       promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                        Doc 142        Filed 11/17/23              Page 24 of 41

  2.6
                                                         Describe debtor's property that is subject to                         $1,500,000.00       Undetermined
            Ferrous Investors LP                         the lien:
            1701 Pennsylvania Avenue, NW                 See Financing Statement 20236968654
            Washington, DC 20006
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under DIP
           10/11/2023                                    Bridge Loan

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.7
                                                         Describe debtor's property that is subject to                            $18,595.38       Undetermined
            Forgepoint Cyber Affiliates Fund I, L.P.     the lien:
            400 South El Camino
                                                         See Financing Statement 20230903285
            San Mateo, CA 94022
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           12/14/22                                      promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                        Doc 142        Filed 11/17/23              Page 25 of 41

  2.8
                                                         Describe debtor's property that is subject to                         $1,599,266.32       Undetermined
            Forgepoint Cybersecurity Fund I, L.P.        the lien:
            400 South El Camino                          See Financing Statement 20230903053
            San Mateo, CA 94022
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           12/14/22                                      promissory note

           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.9
                                                         Describe debtor's property that is subject to                           $557,883.35       Undetermined
            McConnell, John M.                           the lien:
            7900 Tysons One Place, Suite 400             See Financing Statement 20230902881
            McLean, VA 22102
                                                         Describe the lien
                                                         UCC Lien securing obligations under
                                                         promissory note
           Date debt was incurred?
           12/14/22                                      Is the creditor an insider or related party?

           Last 4 digits of account number                  No

                                                            Yes
           Do multiple creditors have an interest
                                                         Is anyone else liable on this claim?
           in the same property?
                                                            No
                No
                                                            Yes. Fill out Schedule H: Codebtors(Official
                Yes. Specify each creditor, including
                                                        Form 206H)
          this creditor, and its relative priority.
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
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  2.10
                                                         Describe debtor's property that is subject to                           $877,625.02       Undetermined
            Richardson, Russell D.                       the lien:
            Address on File                              See Financing Statement 20230901826

                                                         Describe the lien
           Date debt was incurred?
                                                         UCC Lien securing obligations under
           Various
                                                         promissory note
           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No
           Do multiple creditors have an interest
           in the same property?                            Yes
                No                                       Is anyone else liable on this claim?
                                                            No
                Yes. Specify each creditor, including

          this creditor, and its relative priority.         Yes. Fill out Schedule H: Codebtors(Official

                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.11
                                                         Describe debtor's property that is subject to                           $557,883.35       Undetermined
            Rogers, Michael J.                           the lien:
            Address on File                              See Financing Statement 20230901032
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
           12/14/22                                      promissory note
           Last 4 digits of account number               Is the creditor an insider or related party?
                                                            No
           Do multiple creditors have an interest
           in the same property?                            Yes

                No                                       Is anyone else liable on this claim?
                                                            No
                Yes. Specify each creditor, including

          this creditor, and its relative priority.         Yes. Fill out Schedule H: Codebtors(Official

                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed
Debtor   IronNet, Inc.___________________________________________________________                        Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                        Doc 142        Filed 11/17/23              Page 27 of 41

  2.12
                                                         Describe debtor's property that is subject to                         $1,617,861.65       Undetermined
            Schlein, Theodore E.                         the lien:
            7900 Tysons One Place, Suite 400             See Financing Statement 20230903723
            McLean, VA 22102
                                                         Describe the lien
           Date debt was incurred?                       UCC Lien securing obligations under
                                                         promissory note
           12/14/22
                                                         Is the creditor an insider or related party?
           Last 4 digits of account number
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  2.13
                                                         Describe debtor's property that is subject to                           $862,713.35       Undetermined
            Tighe, Jan E.                                the lien:
            7900 Tysons One Place, Suite 400             See Financing Statement 20230902048
            McLean, VA 22102
                                                         Describe the lien
                                                         UCC Lien securing obligations under
           Date debt was incurred?
                                                         promissory note
           Various
                                                         Is the creditor an insider or related party?
           Last 4 digits of account number
                                                            No

           Do multiple creditors have an interest           Yes
           in the same property?
                                                         Is anyone else liable on this claim?
                No
                                                            No
                Yes. Specify each creditor, including
                                                            Yes. Fill out Schedule H: Codebtors(Official
          this creditor, and its relative priority.
                                                        Form 206H)
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.
                                                              Contingent

                                                              Unliquidated

                                                              Disputed


  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    $26,777,914.08
  Page, if any.
Debtor      IronNet, Inc.___________________________________________________________              Case number (if known) 23-11710________________________________________
         Name
                                       Case 23-11710-BLS                    Doc 142        Filed 11/17/23              Page 28 of 41
  Part 2:     List Others to Be Notified for a Debt That You Already Listed

  List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                         On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                            the related creditor?                       this entity

  3.1
                                                                                          2.2
             Ferrous Investors LP
             1701 Pennsylvania Avenue, NW
             Washington, DC 20006


  3.2
                                                                                          2.3
             Ferrous Investors LP
             1701 Pennsylvania Avenue, NW
             Washington, DC 20006


  3.3
                                                                                          2.4
             Ferrous Investors LP
             1701 Pennsylvania Avenue, NW
             Washington, DC 20006


  3.4
                                                                                          2.2
             C5 Cyber Partners II SCSP RAIF
             C/O LANDIS RATH & COBB LLP
             Attn: Richard S. Cobb, Esq. and Joshua B. Brooks, Esq.
             919 Market Street, Suite 1800
             Wilmington, DE 19801


  3.5
                                                                                          2.3
             C5 Space Data LP
             C/O LANDIS RATH & COBB LLP
             Attn: Richard S. Cobb, Esq. and Joshua B. Brooks, Esq.
             919 Market Street, Suite 1800
             Wilmington, DE 19801


  3.6
                                                                                          2.4
             C5 Transatlantic Investors LP
             C/O LANDIS RATH & COBB LLP
             Attn: Richard S. Cobb, Esq. and Joshua B. Brooks, Esq.
             919 Market Street, Suite 1800Wilmington, DE 19801



  3.7
                                                                                          2.2
             C5 Cyber Partners II SCSP RAIF
             C/O PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
             Attn: Sean A. Mitchell, Esq., Diane Meyers, Esq. and Grace C. Hotz
             1285 Avenue of the Americas
             New York, NY 10019
Debtor   IronNet, Inc.___________________________________________________________         Case number (if known) 23-11710________________________________________
         Name
                                     Case 23-11710-BLS                    Doc 142   Filed 11/17/23           Page 29 of 41

  3.8
                                                                                    2.3
           C5 Space Data LP
           C/O PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
           Attn: Richard S. Cobb, Esq. and Joshua B. Brooks, Esq.
           919 Market Street, Suite 1800
           Wilmington, DE 19801


  3.9
                                                                                    2.4
           C5 Transatlantic Investors LP
           C/O PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
           Attn: Sean A. Mitchell, Esq., Diane Meyers, Esq. and Grace C. Hotz
           1285 Avenue of the Americas
           New York, NY 10019
                                        Case 23-11710-BLS                   Doc 142             Filed 11/17/23             Page 30 of 41

  Fill in this information to identify the case:

  Debtor name: IronNet, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 23-11710
                                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, fill out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition filing date, the claim is:                      $3,042.22                     $3,042.22
           City of New York                                              Check all that apply.
           NYC Department of Finance
                                                                              Contingent
           P.O. Box 5564
           Binghamton, NY 13902-5564                                          Unliquidated

                                                                              Disputed
           Date or dates debt was incurred                               Basis for the claim:
           Various                                                       Taxes
           Last 4 digits of account number                               Is the claim subject to offset?
                                                                             No
           Specify Code subsection of PRIORITY unsecured
                                                                             Yes
           claim:
           11 U.S.C. § 507(a) ( 8 )
Debtor   IronNet, Inc.___________________________________________________________           Case number (if known) 23-11710________________________________________
         Name
                                   Case 23-11710-BLS              Doc 142              Filed 11/17/23           Page 31 of 41

  2.2
                                                                As of the petition filing date, the claim is:               $15,520.00                  $15,520.00
           State of Delaware                                    Check all that apply.
           Division Of Revenue
                                                                    Contingent
           820 N. French Street
           Wilmington, DE 19801                                     Unliquidated

                                                                    Disputed

           Date or dates debt was incurred                      Basis for the claim:
           Various                                              Taxes
           Last 4 digits of account number                      Is the claim subject to offset?
                                                                   No
           Specify Code subsection of PRIORITY unsecured
                                                                   Yes
           claim:
           11 U.S.C. § 507(a) ( 8 )

  2.3
                                                                As of the petition filing date, the claim is:               $10,711.45                  $10,711.45
           State of New Jersey                                  Check all that apply.
           New Jersey Division Of Taxation
                                                                    Contingent
           Revenue Processing Center
           P.O. Box 666                                             Unliquidated
           Trenton, NJ 08646-0666
                                                                    Disputed

                                                                Basis for the claim:
           Date or dates debt was incurred                      Taxes
           Various
                                                                Is the claim subject to offset?
           Last 4 digits of account number                         No

                                                                   Yes
           Specify Code subsection of PRIORITY unsecured
           claim:
           11 U.S.C. § 507(a) ( 8 )

  2.4
                                                                As of the petition filing date, the claim is:                  $617.07                     $617.07
           State of Rhode Island                                Check all that apply.
           Division Of Taxation
                                                                    Contingent
           One Capital Hill
           Providence, RI 02908                                     Unliquidated

                                                                    Disputed
           Date or dates debt was incurred                      Basis for the claim:
           Various                                              Taxes

           Last 4 digits of account number                      Is the claim subject to offset?
                                                                   No
           Specify Code subsection of PRIORITY unsecured
                                                                   Yes
           claim:
           11 U.S.C. § 507(a) ( 8 )
Debtor      IronNet, Inc.___________________________________________________________                     Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                      Doc 142            Filed 11/17/23                Page 32 of 41
  Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out and attach the
  Additional Page of Part 2.

                                                                                                                                                                  Amount of claim

  3.1
                                                                                               As of the petition filing date, the claim is:                              $7,934,390.74
             3i, LP                                                                            Check all that apply.
             140 Broadway
                                                                                                    Contingent
             38th Floor
             New York, NY 10005                                                                     Unliquidated

             Date or dates debt was incurred                                                        Disputed
             Undetermined                                                                      Basis for the claim:
                                                                                               Note Payable

                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes


  3.2
                                                                                               As of the petition filing date, the claim is:                      Undetermined
             Adam Grad                                                                         Check all that apply.
             c/o The Office of Craig C. Reilly, Esq
                                                                                                    Contingent
             Attn: Craig C. Reilly
             209 Madison St                                                                         Unliquidated
             Ste 501
             Alexandria, VA 22314                                                                   Disputed
                                                                                               Basis for the claim:
             Date or dates debt was incurred                                                   Litigation
             Undetermined
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes

  3.3
                                                                                               As of the petition filing date, the claim is:                                $508,050.00
             Donald Dixon                                                                      Check all that apply.
             7900 Tysons One Place, Suite 400
                                                                                                    Contingent
             McLean, VA 22102
                                                                                                    Unliquidated
             Date or dates debt was incurred
             8/29/2023                                                                              Disputed
                                                                                               Basis for the claim:
                                                                                               Note Payable
                                                                                               Is the claim subject to offset?
                                                                                                   No

                                                                                                   Yes
Debtor   IronNet, Inc.___________________________________________________________         Case number (if known) 23-11710________________________________________
         Name
                                     Case 23-11710-BLS            Doc 142           Filed 11/17/23              Page 33 of 41

  3.4
                                                                                As of the petition filing date, the claim is:                       $100,958.33
           Franz Bernhard Humer                                                 Check all that apply.
           Address on File
                                                                                    Contingent

           Date or dates debt was incurred                                          Unliquidated
           9/18/2023
                                                                                    Disputed

                                                                                Basis for the claim:
                                                                                Loan

                                                                                Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.5
                                                                                As of the petition filing date, the claim is:                       $109,168.14
           IronNet Cybersecurity FZ-LLC                                         Check all that apply.
           DIC Building # 3
                                                                                    Contingent
           Suite 310
           Internet City, Dubai                                                     Unliquidated
           United Arab Emirates
                                                                                    Disputed
           Date or dates debt was incurred                                      Basis for the claim:
           Various                                                              Intercompany Payable

                                                                                Is the claim subject to offset?
                                                                                    No

                                                                                    Yes


  3.6
                                                                                As of the petition filing date, the claim is:                       $159,706.75
           IronNet Cybersecurity Singapore PTE. LTD.                            Check all that apply.
           10, Collyer Quay, #10-01
                                                                                    Contingent
           Ocean Financial Centre
           c/o DrewCorp                                                             Unliquidated
           49315
           Singapore                                                                Disputed

                                                                                Basis for the claim:
           Date or dates debt was incurred                                      Intercompany Payable
           Various
                                                                                Is the claim subject to offset?
                                                                                    No

                                                                                    Yes

  3.7
                                                                                As of the petition filing date, the claim is:                       $495,496.07
           IronNet Cybersecurity, Inc.                                          Check all that apply.
           7900 Tysons One Place
                                                                                    Contingent
           Suite 400
           McLean, VA 22102                                                         Unliquidated

           Date or dates debt was incurred                                          Disputed
           Various                                                              Basis for the claim:
                                                                                Intercompany Payable

                                                                                Is the claim subject to offset?
                                                                                    No

                                                                                    Yes
Debtor      IronNet, Inc.___________________________________________________________                     Case number (if known) 23-11710________________________________________
         Name
                                        Case 23-11710-BLS                    Doc 142            Filed 11/17/23               Page 34 of 41

  3.8
                                                                                             As of the petition filing date, the claim is:                              $515,908.34
             Korr Acquisitions Group, Inc.                                                   Check all that apply.
             Attn: Kenneth Orr
                                                                                                  Contingent
             1400 Old Country Road
             Suite 306                                                                            Unliquidated
             Westbury, NY 11590
                                                                                                  Disputed
             Date or dates debt was incurred                                                 Basis for the claim:
             Undetermined                                                                    Note Payable

                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes

  3.9
                                                                                             As of the petition filing date, the claim is:                    Undetermined
             M. Berly                                                                        Check all that apply.
             c/o The Noble Law Firm, PLLC
                                                                                                  Contingent
             Attn: Kathryn Abernethy, Esq
             141 Providence Road                                                                  Unliquidated
             Suite 210
             Chapel Hill, NC 27514                                                                Disputed
                                                                                             Basis for the claim:
             Date or dates debt was incurred                                                 Demand
             Undetermined
                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes

  Part 3:     List Others to Be Notified About Unsecured Claims

  4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related               Last 4 digits of
                                                                                                creditor (if any) listed?                                      account number, if any

  4.1
                                                                                                Line
             3i, LP                                                                             3.1
             c/o Cahill Gordon & Reindel LLP
             Attn: Joel H. Levitin, Esq. and Ivan Torres, Esq.                                         Not listed. Explain
             32 Old Slip
             New York, New York 10005


  4.2
                                                                                                Line
             3i, LP                                                                             3.1
             c/o Potter Anderson & Corroon LLP
             Attn: Christopher M. Samis and L. Katherine Good                                          Not listed. Explain
             1313 N. Market Street, 6th Floor
             Wilmington, Delaware 19801
Debtor      IronNet, Inc.___________________________________________________________       Case number (if known) 23-11710________________________________________
         Name
                                    Case 23-11710-BLS                Doc 142           Filed 11/17/23         Page 35 of 41
  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                               Total of claim amounts

  5a. Total claims from Part 1                                                                                         5a.                              $29,890.74

  5b. Total claims from Part 2                                                                                         5b.                          $9,823,678.37
  5c. Total of Parts 1 and 2                                                                                           5c.
                                                                                                                                                  $9,853,569.11
  Lines 5a + 5b = 5c.
                                    Case 23-11710-BLS                   Doc 142           Filed 11/17/23               Page 36 of 41

  Fill in this information to identify the case:

  Debtor name: IronNet, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                        Check if this is an
  Case number: 23-11710
                                                                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom the debtor
                                                                                           has an executory contract or unexpired lease

2.1     State what the contract        Vendor Agreement
        or lease is for and the                                                           AFCEA International
        nature of the debtor’s                                                            4114 Legato Rd Ste 1000
        interest                                                                          Fairfax, VA 22033
        State the term                 111 Days
        remaining
        List the contract number
        of any government
        contract

2.2     State what the contract        Insurance Policy
        or lease is for and the                                                           AIG AIU Holdings/Chartis
        nature of the debtor’s                                                            Attn: Natl Union Fire Ins Co of Pitt
        interest                                                                          PO Box 11590
        State the term                 Undetermined                                       Newark, NJ 07193-1590
        remaining
        List the contract number
        of any government
        contract

2.3     State what the contract        Insurance Policy
                                                                                          AIU Holdings/Chartis
        or lease is for and the
        nature of the debtor’s                                                            Attn: Natl Union Fire Ins Co of Pitt
        interest                                                                          175 Water St
        State the term                 45 Days                                            New York, NY 10038-4969
        remaining
        List the contract number
        of any government
        contract
Debtor   IronNet, Inc.___________________________________________________________          Case number (if known) 23-11710________________________________________
         Name
                                      Case 23-11710-BLS           Doc 142           Filed 11/17/23             Page 37 of 41

  2.4      State what the contract     Insurance Policy
           or lease is for and the                                                  Canopius
           nature of the debtor’s                                                   140 Broadway Suite 2210
           interest                                                                 New York, NY 10005
           State the term              45 Days
           remaining
           List the contract number
           of any government
           contract

  2.5      State what the contract     Insurance Policy
           or lease is for and the                                                  CNA Insurance Companies
           nature of the debtor’s                                                   Attn: Neal Stoeckel
           interest                                                                 500 College Road East
           State the term              Undetermined                                 Princeton, NJ 08540
           remaining
           List the contract number
           of any government
           contract

  2.6      State what the contract     Insurance Policy
           or lease is for and the                                                  CNA Insurance Companies
           nature of the debtor’s                                                   Attn: Neal Stoeckel
           interest                                                                 500 College Road East
           State the term              45 Days                                      Princeton, NJ 08540
           remaining
           List the contract number
           of any government
           contract

  2.7      State what the contract     Insurance Policy
           or lease is for and the                                                  Ironshore Specialty Insurance Co.
           nature of the debtor’s                                                   175 Berkeley St
           interest                                                                 Boston, MA 2116
           State the term              45 Days
           remaining
           List the contract number
           of any government
           contract

  2.8      State what the contract     Insurance Policy
           or lease is for and the                                                  Lloyds
           nature of the debtor’s                                                   c/o Ambridge Partners LLC
           interest                                                                 1140 Avenue of the Americas 5th fl
           State the term              45 Days                                      New York, NY 10036
           remaining
           List the contract number
           of any government
           contract

  2.9      State what the contract     Insurance Policy
           or lease is for and the                                                  Lloyds
           nature of the debtor’s                                                   c/o Ambridge Partners LLC
           interest                                                                 1140 Avenue of the Americas 5th fl
           State the term              45 Days                                      New York, NY 10036
           remaining
           List the contract number
           of any government
           contract
Debtor   IronNet, Inc.___________________________________________________________          Case number (if known) 23-11710________________________________________
         Name
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  2.10     State what the contract     Insurance Policy
           or lease is for and the                                                  Lloyds America, Inc.
           nature of the debtor’s                                                   Attn: Legal Dept
           interest                                                                 280 Park Ave 25th Fl
           State the term              45 Days                                      East Tower
           remaining                                                                New York, NY 10017
           List the contract number
           of any government
           contract

  2.11     State what the contract     Insurance Policy
           or lease is for and the                                                  Nationwide Group
           nature of the debtor’s                                                   Attn: Ryan Skelley
           interest                                                                 18700 North Hayden Rd.
           State the term              45 Days                                      Scottsdale, AZ 85255
           remaining
           List the contract number
           of any government
           contract

  2.12     State what the contract     Insurance Policy
           or lease is for and the                                                  Old Republic General Ins. Grp.
           nature of the debtor’s                                                   191 North Wacker Dr Ste 1000
           interest                                                                 Chicago, IL 60606
           State the term              45 Days
           remaining
           List the contract number
           of any government
           contract

  2.13     State what the contract     Insurance Policy
           or lease is for and the                                                  SCOR Group
           nature of the debtor’s                                                   Attn: General Security National Ins Co
           interest                                                                 28 Liberty St, Ste 5400
           State the term              45 Days                                      New York, NY 10005
           remaining
           List the contract number
           of any government
           contract

  2.14     State what the contract     Insurance Policy
           or lease is for and the                                                  SOMPO International
           nature of the debtor’s                                                   c/o Commercial Management Liability
           interest                                                                 1221 Avenue of The Americas 18th Fl
           State the term              45 Days                                      Attn: Prof Lines Underwriting Dept
           remaining                                                                New York, NY 10020
           List the contract number
           of any government
           contract

  2.15     State what the contract     Insurance Policy
           or lease is for and the                                                  W. R. Berkley Group
           nature of the debtor’s                                                   757 Third Avenue 10th Fl
           interest                                                                 New York, NY 10017
           State the term              45 Days
           remaining
           List the contract number
           of any government
           contract
Debtor   IronNet, Inc.___________________________________________________________          Case number (if known) 23-11710________________________________________
         Name
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  2.16     State what the contract     Insurance Policy
           or lease is for and the                                                  Westfield Specialty Insurance Co
           nature of the debtor’s                                                   Attn: Specialty Underwriting Dept.
           interest                                                                 One Park Circle
           State the term              45 Days                                      Westfield, OH 44251
           remaining
           List the contract number
           of any government
           contract

  2.17     State what the contract     Insurance Policy
           or lease is for and the                                                  Westfield Specialty Insurance Co
           nature of the debtor’s                                                   Attn: Specialty Underwriting Dept.
           interest                                                                 One Park Circle
           State the term              45 Days                                      Westfield, OH 44251
           remaining
           List the contract number
           of any government
           contract
                                        Case 23-11710-BLS                       Doc 142             Filed 11/17/23                Page 40 of 41

  Fill in this information to identify the case:

  Debtor name: IronNet, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 23-11710
                                                                                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
HighDegree, LLC                                                                                    Ferrous Investors LP                                                    D
                                  HighDegree, LLC
                                  7900 One Place, Suite 400                                                                                                                E/F
                                  McLean, VA 22102
                                                                                                                                                                           G


2.2
IronCAD LLC                                                                                        Ferrous Investors LP                                                    D
                                  IronCAD LLC
                                  7900 Tysons One Place, Ste 400                                                                                                           E/F
                                  McLean, VA 22102
                                                                                                                                                                           G

2.3
IronNet Cybersecurity,                                                                             Ferrous Investors LP                                                    D
Inc.                              IronNet Cybersecurity, Inc.
                                  7900 Tysons One Place                                                                                                                    E/F
                                  Suite 400
                                  McLean, VA 22102                                                                                                                         G



2.4
IronNet International, LLC                                                                         Ferrous Investors LP                                                    D
                                  IronNet International, LLC
                                  7900 Tysons One Place                                                                                                                    E/F
                                  Suite 400
                                  McLean, VA 22102                                                                                                                         G
                                    Case 23-11710-BLS                        Doc 142    Filed 11/17/23             Page 41 of 41

  Fill in this information to identify the case:

  Debtor name: IronNet, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 23-11710
                                                                                                                                                     amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       Schedule H: Codebtors (Official Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

11/16/2023                                                                             /s/ Cameron Pforr

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Cameron Pforr

                                                                                       Printed name
                                                                                       President and Chief Financial Officer

                                                                                       Position or relationship to debtor
